                                             Case 2:24-cr-00091-ODW                                            Document 197 Filed 12/16/24                              Page 1 of 1 Page ID
                                                                                                                       #:2343
     UNITED STATES DISTRICT COURT                                                                                 TRANSCRIPT ORDER FORM COURT USE ONLY
    CENTRAL DISTRICT OF CALIFORNIA                                                      Please use one form per court reporter per case, and contact court reporter DUE DATE:
                                                                                     directly immediately after e-filing form. (Additional instructions on next page.)

   la. Contact Person       ^amieLinnell                                                        2a. Contact Phone            702-521-5384                  !a. Contact E-mail   :linnell@cslawoffice.net
       for this Order                                                                                Number                                                   Address



   Ib. Attorney Name        David Z. Chesnoff                                                   ib. Attorney Phone           ''02-384-5563                 (b. Attorney E-mail dzchesnoff@cslawoffice.net
       (if different)                                                                               Number                                                    Address


  4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                                               lAlexander Smirnov, Defendant
                                                                                                                   5. Name & Role of
                                                                                                                      Party Represented
  IChesnofF&Schonfeld
  1520 S. 4th St                                                                                                                          ILJSAv.Smirnov
                                                                                                                   6. Case Name
  |Las Vegas, NV 89101

                                                                                                                   7a. District Court     |2:24-cr-00091-ODW                       7b. Appeals Court
                                                                                                                       Case Number                                                     Case Number


  8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):

                        DIGITALLY RECORDED \~\ TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER:


 9. THIS TRANSCRIPT ORDER IS FOR: Q Appeal ^| Non-Appeal                                                     Criminal || Civil                    CJA ][ USA || FPD || In forma pauperis (Court order for transcripts must be attached)


                                                                                                                                              You MUST check the docket to see if the transcript has already been filed, and if so,
 10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) ofproceeding(s) for which transcript is requested, format(s), and delivery type): provide the "Release of Transcript Restriction" date in column c, below.

  a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court                                                                                     c. RELEASE OF TRANS.            d. DELIVERY TYPE
  order releasing transcript to the ordering party must be attached here or emailed to                                              b. SELECTFORMAT(S) ^^^,                            RESTRICTION DATE               30-day, 14-day, 7-day, 3-day, Daily, Hourly
  transcripts_cacd@cacd.uscourts.sov.}

   HEARING         Minute Order                                   PROCEEDING TYPE / PORTION                                         pDF TEXT/ CONDEN. CM/ECF ^ORD                       {Provide release date 0]          (Check with court reporter
                      Docket#       JUDGE                                                                                                                                            efiled transcript, or check to   before choosing any delivery time
    DATE           (it'available)   (name)
                                                  If requesting less than full hearing, -specify portion (e.g., witness or time).
                                                                                                                                    <^> ^ PAPER ^(,5,' ASS W=G
                                                ;JA orders: indicate if openings, closings, voir dire, or instructions requested                                                       certify none yet on file.)        sooner than "Ordinarv-30."}


   12/16/24                         Wright      Change of Plea Hearing                                                              000 0 0 0                                         0                                3-Day B

                                                                                                                                    000000                                            0                                                                    a
                                                                                                                                    000000                                                                                                                 E3
                                                                                                                                                                                     _^_
                                                                                                                                    000000                                                                                                                 [a
                                                                                                                                                                                     _0_
                                                                                                                                    000000                                            0                                                                    a
  11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. C/A Orders: Explain necessity ofnon-appeal orders, orders for transcripts of proceedings involving only a co-defendant, 6- special authorizations to be
  "equested in Section 14 ofCJA-24 Voucher (attach additional pages if needed).




  12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
 payment under the Criminal Justice Act.
                                                                                             Date       112/16/2024                                  Signature       ^s/
G-120 (06/18)
